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                                   STATEMENT OF FACTS

        Your affiant, Patrick W. Straub, has been a Special Agent of the Federal Bureau of
Investigation (FBI) since January 2005. I am currently assigned to the Joint Terrorism Task Force
(JTTF) in the FBI Baltimore Division, where I focus on domestic terrorism including investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As an FBI agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        NICOLE PRADO first came to the FBI’s attention on January 7, 2021 after a tip was
received suggesting that PRADO and possibly                                                 both of
Gaithersburg, Maryland, had taken part in the riots at the Capitol Building the day prior. Based
on this initial tip, follow-up investigation of the tip, and information received from two other
complainants, the FBI determined that                  had posted two relevant photographs to
Instagram account under the Instagram account name of                     : (1) a Donald Trump flag
hanging from a light fixed to the wall from what appears to be inside the Capitol Building with
the caption: “It’s the people’s house now”, and (2) a statute of George Washington from what
appears to be inside the Rotunda of the Capitol Building:




       In addition, the above described tips and follow-up investigation revealed that
had also posted a video to the described Instagram account. The video appears to have been
taken by               using     cell phone camera while walking with PRADO in Washington
D.C. During the video, which appears to have been filmed shortly after the Capitol Building
riots,             stated: “Please meet the new Congresswoman…she uh, she just was in the
Capitol for the first time today. She stormed the Capitol, she’s the new Congresswoman. She’s
the new Speaker of the House.” I created screenshots of this video:




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      The FBI obtained drivers’ license information from the Maryland Motor Vehicle
Administration for both            and PRADO, including their photographs. These
photographs appear to depict the same people who are in the above described video discussing
having stormed the Capitol Building.

       On February 25, 2021, the FBI obtained a search warrant for                    Instagram
account.              had deleted the account several days after the Capitol riot and the
incriminating media was not included in the returns; however, the returns did include private
conversations with another account from January 7, 2021, speculating whether “they’ll seek
charges,” including “trespassing charges.” The other participant responded to
suggesting they “ain’t gonna go after Nicole” and then discussed the Instagram posts: “that’s not
evidence—           screenshot . . . is Nicole on camera . . . But they would have to cross reference
too much. Do police have her fingerprints and mugshot? . . . It’s only corroborating but its
weak.” Search warrants for historical cell site data suggests               was not in Washington,
D.C. on January 6, 2021 during the breach of the Capitol, but came to Washington later that
afternoon. The historical cell site data suggests PRADO came to Washington, D.C. earlier than
           , in the morning of January 6, 2021 and that she was near or around the Capitol, but
            apparently was not.

       I have reviewed Capitol Building CCTV footage from the events on January 6, 2021 and
observed an individual who physically resembled PRADO walk though several rooms in the
Capitol Building during an approximate five minute period from approximately 19:39 UTC


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through 19:44 UTC (review of CCTV footage for PRADO is still ongoing). During this review, I
observed PRADO take the two photographs that                later posted on    Instagram
account as discussed above. Specifically, I observed PRADO walk through the Capitol Building
Rotunda before stopping to use her cell phone to take one of the pictures that          later
posted on Instagram:




CCTV: Prado enters Rotunda, teargas in background    Instagram Post           CCTV: Prado takes picture that      later posted


        I also observed PRADO on Capitol Building CCTV footage walk through Statuary Hall
in the Capitol Building before stopping to use her cell phone to take the second picture
             later posted on Instagram:




                                    Instagram Post          CCTV: Prado takes picture that         later posted


       I took several, additional screenshots of PRADO from Capitol Building CCTV footage
from January 6, 2021:

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       PRADO’s physical appearance and clothing in the Capitol Building CCTV footage
matched her physical appearance and clothing from the video           had posted later that
afternoon on   Instagram account:




                                 Screenshot of     Instagram video

        I showed the above screenshots of PRADO from the Capitol Building CCTV footage to
two of the previously discussed tipsters/complainants. Both of these complainants confirmed that
the person in the screenshots was PRADO.

        Based on the foregoing, I submit that there is probable cause to believe that NICOLE
PRADO violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

       I also submit there is also probable cause to believe that NICOLE PRADO violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,

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threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      Patrick W. Straub
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 3rd day of June, 2021.
                                                                        Digitally signed
                                                                        by G. Michael
                                                                        Harvey
                                                     ___________________________________
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE




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